Case 6:24-cv-00947-CEM-EJK Document 6 Filed 05/28/24 Page 1 of 2 PageID 373




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


NOAH DERYLAK and CRAIG
MAXWELL,

                  Plaintiffs,

v.                                               Case No. 6:24-cv-947-CEM-EJK

WHITE RIVER MARINE
GROUP, LLC, DOMETIC
MARINE CANADA INC., T-H
MARINE SUPPLIES, LLC, and
BRUNSWICK CORPORATION,

                  Defendants.
                                     /

                                    ORDER
     THIS CAUSE is before the Court on sua sponte review. To facilitate

compliance with the Local Rules, it is ORDERED as follows:

        1. Within fourteen days from the date of this Order, or if a party joins this

           action subsequent to the entry of this Order, from the date of a party’s

           first appearance, each party shall:

              a. Comply with Local Rule 3.03 and file a Disclosure Statement in

                  the form provided on Judge Mendoza’s page on the Middle

                  District of Florida website. Each party has a continuing




                                   Page 1 of 2
Case 6:24-cv-00947-CEM-EJK Document 6 Filed 05/28/24 Page 2 of 2 PageID 374




                    obligation to file and serve an amended Disclosure Statement

                    within fourteen days of discovering any ground for amendment,

                    conflict of interest, recusal, or disqualification of the judicial

                    officer.

               b. Comply with Local Rule 1.07(c) and file a Notice of Pendency

                    of Other Actions in the form on Judge Mendoza’s page on the

                    Middle District of Florida website.

         2. The parties are directed to comply with Local Rule 3.02 by utilizing the

            Uniform Case Management Report form, which is available on Judge

            Mendoza’s page on the Middle District of Florida website.

         DONE and ORDERED in Orlando, Florida on May 28, 2024.




Copies furnished to:

Counsel of Record




                                     Page 2 of 2
